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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA, )
)
v. )
) ~~ Case No. 1;02-cr-37
JOHN WALKER LINDA, )
Defendant. )
)
)
ORDER

Defendant was convicted of supplying services to the Taliban and carrying an
explosive device during the commission of a felony and was sentenced to 240 months
imprisonment and a 3-year term of supervised release. Defendant is scheduled to be released
from the Bureau of Prisons on May 23, 2019, at which time his period of supervised relcase
will commence. Given the rare nature of defendant’s crime and his unique personal history
and characteristics, the probation officer recently filed a request asking the Court to impose
additional special conditions of supervised release which will govern defendant’s behavior
post-confinement. The probation officer specifically asked that the following special
conditions be added:

« That defendant shall not possess any internet capable device without prior
permission from the probation office and any such device must be monitored
continuously;

e That defendant shall not have any online communications in any language
other than English unless otherwise approved;

e That defendant shal] not possess, view, access or otherwise view material that
reflects extremist or terroristic vicws;
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° That defendant shall not possess a passport issued by any country or possess
any other travel documentations and cannot leave the United States without
the express permission of this Court:

e That defendant shall not communicate with any known extremist: and

® That defendant shall undergo mental health counseling.

Defendant, who initially proceeded pro se, opposed the addition of these supervised
release conditions and requested a hearing. Experienced counsel was appointed to represent
defendant at the hearing on modifying the conditions of release. After consultation with
counsel, however, defendant, himself and by counsel, expressed in writing that he no longer
opposes the imposition of these additional special conditions and requests that the hearing be
cancelled.

Accordingly,

It is hereby ORDERED that the proposed conditions set forth above are hereby
added as special conditions of defendant’s term of supervised release. Upon his release from
prison, defendant must follow these conditions of supervised release and al) other conditions
previously imposed. Should defendant adjust well on supervised release, he may seek to
modify some or all of these conditions of his superviscd release.

[t is further ORDERED that the status conference currently scheduled for April 26,
2019 is CANCELLED.

The Clerk is directed to send a copy of this Order to the defendant at his last known

address and all counsel of record.

April 8, 2019
Alexandria, Virginia United States District Judge

 
